THOMAS, J. Writ denied.
ANDERSON, C. J., and SOMERVILLE and BOULDIN, JJ., concur.
                              On Rehearing.
The trial was de novo in the circuit court. Wright v City of Bessemer, 209 Ala. 374, 96 So. 316. The certiorari is ruled by Thomas v. City of Mobile, 203 Ala. 96, 82 So. 110. The latter authority from this court differentiates, or is at variance with, the construction given the statute and general ordinances in question (Code 1907, § 1217) in Goldberger v. City of Mobile, 17 Ala. App. 145, 82 So. 635; Jackson v. City of Mobile, 16 Ala. App. 664, 81 So. 184; Hannibal v. City of Mobile, 16 Ala. App. 625, 80 So. 629; Clark v. City of Uniontown, 4 Ala. App. 264, 58 So. 725. The foregoing authorities by the Court of Appeals appear not to have been approved by this court.
The cases of Feagin v. City of Andalusia, 12 Ala. App. 611,67 So. 630, and Cooper v. City of Gadsden, 10 Ala. App. 609,65 So. 715, bear analogy to the decision in Thomas v. City of Mobile, 203 Ala. 96, 82 So. 110.
The writ was properly denied, and the application for rehearing is overruled.
ANDERSON, C. J., and SOMERVILLE and BOULDIN, JJ., concur.